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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF GEORGIA
                                   MACON DIVISION

 BEVERLY B. MARTIN, as next friend of          )
 KHALID MOUTON,                                )
                                               )
                Plaintiff,                     )
                                               )
        v.                                     )   CIVIL ACTION NO. 5:23-cv-4 (MTT)
                                               )
 PO AHMED HOLT, et al.,                        )
                                               )
                Defendants.                    )
                                               )

                                 RULES 16 AND 26 ORDER

       This Order, and the attached Proposed Scheduling and Discovery Order

Form, must be carefully read. This Order and the attached Proposed Scheduling

and Discovery Order Form are amended from time to time. This document includes

the latest revisions.

       Counsel and parties not represented by counsel should read Rules 16 and 26 of

the Federal Rules of Civil Procedure and this Court’s Local Rules. The Local Rules are

available on the Court’s web site (http://www.gamd.uscourts.gov) and may be obtained

from the clerk’s office. Counsel and parties not represented by counsel must abide by the

Federal Rules of Civil Procedure, the Federal Rules of Evidence, and the Local Rules

during the course of this litigation.

       If a nongovernmental corporate party has failed to timely file its disclosure

statement in accordance with Rule 7.1 of the Federal Rules of Civil Procedure, the party

must file the statement within 14 days of the date of this Order. A supplemental

statement must be filed upon any change in the information that the statement requires.

       Pursuant to Rules 16(b) and 26(f) of the Federal Rules of Civil Procedure and
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Local Rule 26, the parties are ordered to confer within 20 days of the date of this Order,

and to develop a Proposed Scheduling and Discovery Order (the “Proposed Order”),

which must be submitted to the Court no later than 30 days from the date of this Order.

The Proposed Order must be submitted by e-mail to macon.ecf@gamd.uscourts.gov in

accordance with the CM/ECF Administrative Procedures. Do not convert the Proposed

Order to PDF. The form for the Proposed Order is attached to this Order. A copy of the

Proposed Order must be served upon each party.

       If the parties cannot agree on the Proposed Order, the parties must state their

differences and specify their positions in the Proposed Order. Notify the Court

immediately by contacting Kim Tavalero, Courtroom Deputy, at 478.752.0717 or

kim_tavalero@gamd.uscourts.gov if a party does not cooperate in preparing the

Proposed Order. Failure by counsel or parties not represented by counsel to cooperate in

the preparation and filing of the report will result in sanctions. Failure to comply with

discovery or with any order of the Court may result in dismissal of the case, default

judgment, or other sanctions.

       The Proposed Order must include time limits for the items addressed in Rule

16(b)(3)(A); the name and address of every witness to be deposed; the anticipated scope

of discovery; the name, address, e-mail address, and telephone and facsimile number of

lead counsel for each party; any issues about electronically stored information and claims

of privilege; and the date the complaint was filed and the date the complaint was

answered. The Proposed Order may also include such other matters as the parties deem

appropriate.

       The Proposed Order will be carefully considered and, subject to such changes as

may be deemed appropriate, either adopted by the Court or discussed with counsel in

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person or by conference call. The Proposed Order must include page numbers as well as

a date line and a signature line for the Court below the attorney’s signature.

       The initial disclosures required by Rule 26(a)(1) shall be served no later than the

date of the submission of the Proposed Order to the Court. The Court expects that,

absent good cause shown, all discovery will be completed within 180 days from the

submission of the Proposed Order to the Court. No discovery request may be served

unless the response to the request can be completed within the discovery period, and no

discovery deposition shall be scheduled beyond the discovery period. The Court

considers requests for admission to be a discovery device subject to the discovery

deadline. Depositions to preserve testimony are not subject to the discovery deadline,

but the failure to timely schedule such depositions shall not be grounds for continuance.

       Any party who may use an expert witness at trial must disclose the expert early

enough in the discovery period to give the opposing party the opportunity to depose the

expert. All expert witness disclosures must satisfy the requirements of Rule 26(a)(2)(B).

A plaintiff designating an expert must disclose the identity of the expert within 90 days

after the submission of the Proposed Order to the Court. A defendant designating an

expert must disclose the identity of the expert within 120 days after the submission of the

Proposed Order to the Court. The parties are reminded that a treating physician,

depending on the subject matter of the physician’s testimony, may be treated as an

expert for purposes of disclosure of the physician’s opinions and the admissibility of those

opinions. See Wilson v. TASER International, Inc., 303 Fed. Appx. 708 (11th Cir. 2008);

Williams v. Mast Biosurgery USA, Inc., 644 F.3d 1312 (11th Cir. 2011).

       The parties have a continuing duty to supplement all disclosures and responses in

accordance with Local Rule 26(e) and the Federal Rules of Civil Procedure.

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       Local Rule 34 limits production requests to 10 per party, and Local Rule 36 limits

requests for admission to 15 per party. However, the Court encourages the parties to

expedite the trial process by stipulating to the authenticity of documents prior to trial.

Therefore, requests for admission that are propounded solely to authenticate documents

as provided for under Federal Rule of Civil Procedure 36(a)(1)(B) are excluded from Local

Rule 36’s limitation on the number of requests to admit that can be propounded.

       All documents produced by any party shall be identified by a number.

       All dispositive motions must be filed within 30 days of the close of discovery. All

briefs in support of a motion for summary judgment, response briefs and reply briefs must

conform to the standards set by Local Rules 7.2, 7.3 and 7.4. The Court relies heavily on

the parties’ statements of facts required by Local Rule 56. Generally, facts should be

presented in chronological order. When deposition transcripts are filed with the Court, the

parties shall also email eTranscripts to Ms. Tavalero at

kim_tavalero@gamd.uscourts.gov.

       If counsel or a party not represented by counsel believes that it would be

appropriate to have a telephone conference with the Court to discuss the Proposed Order

or discovery issues, please contact Ms. Tavalero to schedule a telephone conference.

Before moving for an order relating to discovery, including motions to compel or contested

motions for protective orders, the movant must request a conference with the Court. See

Fed. R. Civ. P. 16(b)(3)(B)(v).

       Do not send courtesy copies of letters, motions, or briefs to the Court.

       If a defendant has filed a motion to dismiss, any party seeking a stay of discovery

pending resolution of the motion should file an appropriate motion within 14 days of the



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date of this Order. The Court prefers that the motion be jointly filed and that the parties

consent to the stay whenever possible.

       In the event of settlement, the parties must notify the Court immediately.



       SO ORDERED, this 15th day of March, 2023.

                                                  S/ Marc T. Treadwell
                                                  MARC T. TREADWELL, CHIEF JUDGE
                                                  UNITED STATES DISTRICT COURT




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